                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 KAWS, INC.,

         Plaintiff,

   v.                                                      Case No.: 23-cv-03134

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE A TO THE COMPLAINT,

         Defendants.


  xxxxxxxxxxx ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION AND
 [PROPOSED]
                   TEMPORARY RESTRAINING ORDER

        The Court having considered Plaintiff’s ex parte application (the “Application”),

including the Declarations of Gen Watanabe and Anna Iskikian, as well as all other papers filed

in support of the Application, for the following relief:

        (1) a temporary restraining order against defendants (as described in Schedule A attached
            to the Complaint (“Defendants”), which shall also be attached hereto), enjoining
            Defendants from the manufacture, importation, distribution, offering for sale, and sale
            of counterfeit products (the “Counterfeit Products”) bearing, using, or infringing upon
            Plaintiff’s copyrights covered by U.S. Copyright Registration Nos. VA 2-180-272 and
            VA 2-182-652 (the “KAWS Copyrights”) and/or trademarks covered by U.S.
            Trademark Registration Nos. 6,046,763, 6,047,656, 6,102,259, 6,102,260, and
            6,116,823 (the “KAWS Trademarks”);
        (2) a temporary transfer of control over Defendants’ online marketplace websites
            (hereinafter the “Defendant Internet Stores,” as also identified on Schedule A to the
            Complaint, which shall also be attached hereto), to Plaintiff;
        (3) a temporary restraint of certain of Defendants’ assets, described below, to preserve
            Plaintiff’s right to an equitable accounting;
        (4) expedited discovery allowing Plaintiff to inspect and copy Defendants’ records relating
            to the manufacture, distribution, offering for sale, and sale of Counterfeit Products, as
            well as of Defendants’ financial accounts;


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       (5) permission to effectuate service by electronic mail and electronic publication; and
       (6) ordering Defendants to show cause why a preliminary injunction should not issue on
           the return date of the Application.
       Based on the papers and other evidence submitted in support to the Application, and for

good cause shown, the Court makes the following findings of fact and conclusions of law:

                     FACTUAL FINDINGS & CONCLUSIONS OF LAW

       1.      Plaintiff is likely to prevail on its copyright infringement, trademark infringement,

false designation of origin, and unfair competition claims at trial.

       2.      As a result of Defendants’ misconduct, Plaintiff is likely to suffer immediate and

irreparable losses, damages, and injuries before Defendants can be heard in opposition, unless

Plaintiff’s application for ex parte relief is granted. For example:

                                                        xxxxxxxxx and unauthorized Counterfeit
                a. Defendants have offered for the sale substandard

                    Products bearing, using, or infringing on the KAWS Copyrights and/or the

                    KAWS Trademarks through storefronts and accounts with online marketplace

                    platforms including Amazon.com (“Amazon”), DHgate.com (“DHgate”),

                    eBay.com (“eBay”), etsy.com (“etsy”), Redbubble.com (“Redbubble”),

                    Walmart.com           (“Walmart”),         and      Wish.com          (“Wish”)

                   (the “Marketplace Platforms”) held by Defendants (the “User Account(s)”).
                                                      More                         may
                    xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                b. Plaintiff                                                       xxx appear in
                             has well-founded fears that more Counterfeit Products will

                    the marketplace using the same User Accounts or new and different User

                    Accounts; that consumers may be misled, confused and disappointed by the

                    quality of these Counterfeit Products, resulting in injury to Plaintiff’s

                    reputation and goodwill and, in particular, the reputation and good will related




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                     to products properly bearing, using, and sold utilizing the KAWS Copyrights

                    and/or the KAWS Trademarks (the “KAWS Products”).
                                                   If Plaintiff proceeds
                 c. xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxsssssssxx
                    Plaintiff has well-founded fears that if they proceed on notice to Defendants
                                                     may
                                                     xxx (i) transfer, conceal, dispose of, or
                     on this Application, Defendants will:

                     otherwise destroy the Counterfeit Products and information concerning the

                     Counterfeit Products; (ii) transfer, conceal, dispose of, or otherwise hide the

                     ill-gotten proceeds from the improper sale of the Counterfeit Products; and/or

                     (iii) close down existing User Accounts, transfer User Account information,

                     and/or open a new User Account through which Defendants can improperly

                     advertise, market, promote, distribute, offer for sale and/or sell the Counterfeit

                     Products under a new or different alias, allowing Defendants’ misconduct to

                     continue with little or no consequence.

       3.      On balance, the potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, its business, and the goodwill and reputation built

up in and associated with the KAWS Copyrights and/or the KAWS Trademarks if a temporary

restraining order is not issued.

       4.      The public interest favors issuance of the temporary restraining order to protect

Plaintiff’s interests in and to the Plaintiff’s copyrights, and to protect the public from being

deceived and defrauded by Defendants’ passing off their Counterfeit Products as Plaintiff’s KAWS

Products.

       5.      Service on Defendants via electronic means is reasonably calculated to result in

proper notice to Defendants.



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       6.        If Defendants are given notice of the Application, they are likely to conceal,

transfer, or otherwise dispose of their ill-gotten proceeds from their sales of Counterfeit Products.

Therefore, good cause exists for granting Plaintiff’s request to proceed ex parte and for an asset

restraining order. It typically takes banks and other financial institutions (including those defined

below as the “Financial Institutions”), as well as online marketplace accounts, approximately five

(5) days after service of an Order like this one to locate, attach, and freeze Defendants’ Assets

(defined below), Defendants’ Accounts (defined below), and/or the User Accounts, and service on

Defendants should not take place until such actions are completed.

       7.        Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible the records and documents relating to

Defendants’ manufacture, importing, advertising, marketing, distributing, offering for sale and/or

sale of the Counterfeit Products. Thus, Plaintiff has established good cause for expedited discovery

to be ordered.

                                              ORDER

       Based on the foregoing findings of fact and conclusions of law, Plaintiff’s Application is

hereby GRANTED and it is ORDERED as follows:

                                      Temporary Restraints

       1.        As sufficient causes has been shown, Defendants are temporarily enjoined and

restrained from engaging in any of the following conduct pending the return date of the Application

as referenced below:

                  a.     Using the KAWS Copyrights and/or the KAWS Trademarks or any

                         reproductions, counterfeit copies, or colorable imitations thereof in any




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     manner in connection with the distribution, marketing, advertising,

     offering for sale, or sale of any Counterfeit Products;

b.   Passing off, inducing, or enabling others to sell or pass off any product

     as a genuine KAWS Product that is not, in fact, Plaintiff’s KAWS

     Product and/or not produced under the authorization, control, or

     supervision of Plaintiff and approved by Plaintiff for sale under the

     KAWS Copyrights and/or the KAWS Trademarks;

c.   Committing any acts calculated to cause consumers to believe that

     Defendants’ Counterfeit Products are those sold under the authorization,

     control, or supervision of Plaintiff, or are sponsored by, approved by, or

     otherwise connected with Plaintiff;

d.   Further infringing the KAWS Copyrights and/or the KAWS

     Trademarks and damaging Plaintiff’s goodwill;

e.   Shipping, delivering, holding for sale, transferring, or otherwise

     moving, storing, distributing, returning, or otherwise disposing of, in

     any manner, products or inventory not manufactured by or for Plaintiff,

     nor authorized by Plaintiff to be sold or offered for sale, and which

     bear(s)   the   KAWS     Trademarks     or   KAWS         Copyrights   any

     reproductions, counterfeit copies, or colorable imitations thereof;

f.   Using, linking to, transferring, selling, exercising control over, or

     otherwise owning the User Accounts, the Defendant Internet Stores, or

     any other domain name or online market place account that is being




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                        used to sell or is the means by which Defendants could continue to sell

                        Counterfeit Products; and

                g.      Operating and/or hosting websites and/or any other web presence

                        registered or operated by Defendants that are involved with the

                        distribution, marketing, advertising, offering for sale, or sale of any

                        product embodying or bearing any of the KAWS Copyrights and/or the

                        KAWS Trademarks.
                                 Disability
                                 xxxxxxxxof Defendant Internet Stores
                       Temporary Transfer

       2.      Within five (5) days of receipt of this Order, the Marketplace Platforms, any

domain name registry providing service to any User Account, and any other online service

provider hosting or servicing a User Account are directed to:

                a. disable and cease providing services for any User Accounts through which

                     Defendants engage in the sale of Counterfeit Products, including any User

                     Accounts associated with the Defendants listed on Schedule A to the

                     Complaint (which is also attached hereto);

                b. disable and cease displaying any advertisements used by or associated with

                     Defendants in connection with the sale of Counterfeit Products; and

                c. take all steps necessary to prevent links to the Defendant Internet Stores

                     identified on Schedule A from displaying in search results, including, but not

                     limited to, removing links to the Defendant Internet Stores from any search

                     index.




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                                   Temporary Asset Restraint

        3.     Pursuant to Fed. R. Civ. P. 64 and 65, as well as C.P.L.R. § 6201, and this Court’s

inherent equitable power to issue provisional remedies ancillary to its authority to provide final

equitable relief, as sufficient cause has been shown, Defendants and any persons in active concert

or participation with them who have actual notice of this Order shall be temporarily restrained and

enjoined from transferring or disposing of any money or other of Defendants’ assets until further

ordered by this Court.

        4.     Within five (5) days of receipt service of this Order, that (i) Contextlogic, Inc.

(“Wish”), (ii) PayPal, Inc. (“PayPal”), (iii) Payoneer, Inc. (“Payoneer”), (iv) Amazon Payment

Systems, Inc. and Amazon.com, Inc. (“Amazon”), (v) Ping Pong Global Solutions, Inc. (“Ping

Pong”), (vi) eBay, Inc. (“eBay”), (vii) Coinbase Global, Inc. (“Coinbase”), (viii) LianLian Global

t/as LL Pay U.S., LLC (“LianLian”), (ix) AllPay Limited (“AllPay”), (x) Union Mobile Financial

Technology Co., Ltd (“Union Mobile”), (xi) World First UK Ltd. (“World First”), (xii) Paxful,

Inc. (“Paxful”), (xiii) ClearFX d/b/a OFX (“OFX”), (xiv) and other payment processing service

providers, including any online marketplace platform (collectively referred to as the “Financial

Institutions”) shall locate all accounts associated with Defendants (the “Defendants’ Accounts”)

and other assets belonging to Defendants, including any cryptocurrency (the “Defendants’

Assets”) and shall locate, attach, and restrain the transfer or disposing of monies or funds from

Defendants’ Accounts, as well as the transfer or disposing of Defendants’ Assets, until further

ordered by this Court.

        5.     The Financial Institutions shall provide written confirmation of their compliance

with the foregoing to Plaintiff’s counsel.




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                                       Expedited Discovery

       6.      As sufficient cause has been shown, within five (5) days of receipt of service of

this Order, the Financial Institutions, including each of the Marketplace Platforms in their

capacities as online marketplace platforms, any domain name registry providing service to any

User Account, and any other online service provider hosting or servicing a User Account shall

provide the following information to Plaintiff’s counsel (to the extent such information is in the

Financial Institutions’ possession, custody, or control):


                a.      Identifying information for Defendants, including all available contact

                        information (which shall include, if available, all known e-mail

                        addresses and mailing addresses), as well as all associated account

                        numbers and account balances regardless of the platform or institution.

                b.      Any User Accounts and/or online marketplace websites affiliated with

                        Defendants that are not listed on Schedule A to the Complaint (and

                        attached hereto).

                c.      Information concerning any of Defendants’ Accounts or Defendants’

                        Assets including any and all related, connected or otherwise associated

                        accounts or assets, regardless of the hosting platform or institution.

                d.      Information concerning any sales or listings of Counterfeit Products

                        made by Defendants.

                     Service by Electronic Mail and/or Electronic Publication

       7.      Pursuant to Fed. R. Civ. P. 4(f)(3), as sufficient cause has been shown, that service

of this Order and the Summons and Complaint may be made on, and shall be deemed effective as

to Defendants if it is completed by the following means:


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                a. Delivery of: (i) PDF copies of this Order together with the Summons and

                    Complaint; (ii) a link to a website where each Defendant will be able to

                    download PDF copies of this Order together with the Summons and

                    Complaint, and all papers filed in support of Plaintiff’s Application (the

                    “Link”) to Defendants’ e-mail addresses as provided by the Financial

                    Institutions; and

                b. Requesting that the Financial Institutions cause Defendants’ online

                    marketplace website(s) to redirect to the Link.

       8.      Such alternative service, as set forth above, shall be made within five (5) days of

the Financial Institutions compliance with Paragraphs 3 through 6 of this Order.

       9.      The Clerk of Court is directed to issue a single original summons in the name of

“THE     INDIVIDUALS,         CORPORATIONS,          LIMITED          LIABILITY    COMPANIES,

PARTNERSHIPS,        AND      UNINCORPORATED            ASSOCIATIONS         IDENTIFIED       ON

SCHEDULE A TO THE COMPLAINT” that shall apply to all Defendants.

                                        Security Bond

       10.     Plaintiff shall deposit with the Court Five Thousand Dollars ($5,000.00), either

cash, company check, cashier’s check, or surety bond, as security, which amount was determined

adequate for the payment of such damages as any person may be entitled to recover as a result

of a wrongful restraint hereunder.

                                         Sealing Order

        9.      Schedule A to the Complaint and Exhibit 3 to the Declaration of Gen Watanabe

 shall be sealed and remain sealed until Defendants’ Accounts and Defendants’ Assets are

 restrained.



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         10.   Plaintiff shall file unsealed versions of Schedule A to the Complaint and Exhibit

3 to the Declaration of Gen Watanabe using the CM/ECF system prior to the expiration of this

Order.

                              Application to Vacate or Dissolve

         11.   Any Defendants that are subject to this Order may appear and move to dissolve

or modify the Order on two (2) days’ notice to Plaintiff or on shorter notice as set by this Court.



                                                                   April 26
         IT IS FURTHER ORDERED that a hearing shall be held on ______________, 2023

     4:45 P.M.
at ______________ xxxxxxxx
                  a.m./p.m. which Plaintiff may present their arguments in support of their

request for issuance of a preliminary injunction. At such time, any Defendants may also be
                                                     The parties shall call 888-363-4749 and
heard as to opposition to Plaintiff’s Application.
                                                     enter the access code 558-3333.
         IT IS FURTHER ORDERED that opposing papers, if any, shall be filed and served
              April 21
on or before _______________,            noon
                              2023, at ________________ xxxxxxxx
                                                        a.m./p.m.
                                                                         5:00 P.M. on
         This Temporary Restraining Order without notice is entered at ___________
April 14 2023, and shall remain in effect for fourteen (14) days.
________,




                                          UNITED STATES DISTRICT JUDGE




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